                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                               DOCKET NO. 3:90-cr-00085-MOC

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 Vs.                                           )                      ORDER
                                               )
 CECIL EDWARD JACKSON,                         )
                                               )
                Defendant(s).                  )



        THIS MATTER is before the court on defendant’s Motion to Make Available to

Defendant a Copy of the Sealed [Supplemental] PSR Filed in His Case (#181) and Motion to

Vacate and Reconsider Court’s order Denying Pro Se Motion to Reduce Sentence Under 18

U.S.C. § 3582(c) (#182). The court will grant the first motion and require the government to file

a Response to the second motion.

                                          ORDER

        IT IS, THEREFORE, ORDERED that defendant’s Motion to Make Available to

Defendant a Copy of the Sealed [Supplemental] PSR Filed in His Case (#181) is GRANTED,

and the Clerk of Court is instructed to mail a copy of the Supplemental PSR (#168) to defendant.

The government shall file a response to defendant’s Motion to Vacate and Reconsider Court’s

Order Denying Pro Se Motion to Reduce Sentence Under 18 U.S.C. § 3582(c) (#182) within 14

days.

  Signed: March 11, 2016




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